      Case 1:25-cv-10135-LTS        Document 14   Filed 01/24/25   Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

O. DOE; BRAZILIAN WORKER CENTER, INC.;
LA COLABORATIVA,

                           Plaintiffs,

                    v.
                                                  Civil Action No. 25-CV-10135-LTS
DONALD J. TRUMP, in his official capacity as
President of the United States; et al.,

                             Defendants.




                         CERTIFICATE OF COMPLIANCE
       Case 1:25-cv-10135-LTS             Document 14    Filed 01/24/25     Page 2 of 2




                              CERTIFICATE OF COMPLIANCE

I, Mirian Albert, hereby certify that on January 24, 2025, pursuant to the Court’s Order (ECF No.
12), I served a copy of the following documents:

   o Complaint (ECF No. 1),
   o Motion to Proceed Pseudonymously (ECF No. 2),
   o Motion for a Preliminary Injunction (ECF No. 10),
   o Memorandum in Support of the Preliminary Injunction (ECF No. 11), and
   o Accompanying declarations (ECF Nos. 11-1 through 11-10),

to the following individuals by e-mail:

Brad P. Rosenberg
Special Counsel
Federal Programs Branch
Civil Division, U.S. Department of Justice
Brad.Rosenberg@usdoj.gov

Leah B. Foley
U.S. Attorney
U.S. Attorney’s Office
District of Massachusetts
leah.foley@usdoj.gov

Abraham R. George
Chief of the Civil Division
U.S. Attorney’s Office
District of Massachusetts
abraham.george@usdoj.gov

Rayford A. Farquhar
Deputy Chief, Civil Division
U.S. Attorney’s Office
District of Massachusetts
rayford.farquhar@usdoj.gov

The emails were sent at approximately 11:50 a.m.

Dated: January 24, 2025
                                                                 /s/ _Mirian Albert_________
                                                                 Mirian Albert (BBO #710093)




                                                2
